       Case 2:19-cv-08024-ODW-JC Document 43 Filed 01/06/20 Page 1 of 1 Page ID #:773
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                    NOTICE OF DOCUMENT DISCREPANCIES

    ✔ U.S. District Judge / G U.S. Magistrate Judge Otis D. Wright, II
To: G
From: S. English                                          , Deputy Clerk             Date Received: December 28, 2019
Case No.: CV 19-08024-ODW(JC)                     Case Title: Alan Baker et al v. Allstate Insurance Company et al
Document Entitled: Motion to Intervene


Upon the submission of the attached document(s), it was noted that the following discrepancies exist:
             G Local Rule 5-4.1         Documents must be filed electronically
             G
             ✔ Local Rule 6-1           Written notice of motion lacking or timeliness of notice incorrect
             G Local Rule 7-19.1        Notice to other parties of ex parte application lacking
             G Local Rule 7.1-1         No Certification of Interested Parties and/or no copies
             G Local Rule 11-3.1        Document not legible
             G Local Rule 11-3.8        Lacking name, address, phone, facsimile numbers, and e-mail address
             G Local Rule 11-4.1        No copy provided for judge
             G Local Rule 11-6          Memorandum/brief exceeds 25 pages
             G Local Rule 11-8          Memorandum/brief exceeding 10 pages shall contain table of contents
             G Local Rule 15-1          Proposed amended pleading not under separate cover
             G Local Rule 16-7          Pretrial conference order not signed by all counsel
             G Local Rule 19-1          Complaint/Petition includes more than 10 Does or fictitiously named parties
             G Local Rule 56-1          Statement of uncontroverted facts and/or proposed judgment lacking
             G Local Rule 56-2          Statement of genuine disputes of material fact lacking
             G Local Rule 83-2.5        No letters to the judge
             G Fed. R. Civ. P. 5        No proof of service attached to document(s)
             G Other: Mr. Jensen makes no claims of having an interest in the property which is the subject of this
             ✔

                         action pursuant to Fed. R. Civ P. 24(a)(2). The Court orders the document to be returned without
                      attaching the document to this reject notice due to the coarse and obscene language found within the doc.
  Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

                                   ORDER OF THE JUDGE/MAGISTRATE JUDGE
IT IS HEREBY ORDERED:

G The document is to be filed and processed. The filing date is ORDERED to be the date the document was stamped
  “received but not filed” with the Clerk. Counsel* is advised that any further failure to comply with the Local Rules may
  lead to penalties pursuant to Local Rule 83-7.


     Date                                                 U.S. District Judge xxxxxxxxxxxxxxxx
                                                                              / U S. Magistrate Judge

G
✔ The document is NOT to be filed, but instead  ead REJECTED,
                                                    REJECTCT  E , and is ORDERED returned
                                                            TED                               d to counsel.* Counsel*
                                                                                                             Co       shall
  immediately notify, in writing, all parties previously
                                                 viously served with
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                                                                                                hat     documen have not
  been filed with the Court.
    January 6, 2020
    Date                                                  U.S. District
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                                                                                   S. Magistrate
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                                                                                       aggiisstrate Judge
* The term “counsel” as used herein also includes any pro se party. See Local Rule 1-3.
                                                                                   1-3
                                                                                    -3.
        COPY 1 -ORIGINAL-OFFICE     COPY 2 -JUDGE      COPY 3 -SIGNED & RETURNED
                                                                              ED
                                                                               D TO FILER          COPY 4 -FILER RECEIP
                                                                                                                 RECEIPT

CV-104A (06/13)                          NOTICE OF DOCUMENT DISCREPANCIES
